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13                             UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN JOSE DIVISION
16

17   UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
                                            )
18          Plaintiff,                      )   MS. HOLMES’ REPLY IN SUPPORT OF
                                            )   MOTION FOR A NEW TRIAL BASED ON
19     v.
                                            )   NEWLY DISCOVERED EVIDENCE
20   ELIZABETH HOLMES and                   )   REGARDING ADAM ROSENDORFF
     RAMESH “SUNNY” BALWANI,                )
21                                          )
            Defendants.                     )   Hon. Edward J. Davila
22                                          )
                                            )
23
                                            )
24                                          )
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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR A NEW TRIAL BASED ON
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 1          Based on the record before it, the Court should be eager to hold a hearing to understand why one

 2 of the government’s key witnesses felt so compelled to speak with Ms. Holmes that he—although

 3 represented by counsel—personally left a voicemail for her attorney; went to her home unprompted and

 4 without warning; and told her partner while begging to speak with her that “he felt like he had done

 5 something wrong,” that the government “made things sound worse than they were when he was up on

 6 the stand during his testimony,” that he and Ms. Holmes were both early in their careers at the time of

 7 the events, and that everyone in the company was “working so hard to do something good and

 8 meaningful.” Dkt. 1574-2 (Evans Decl., Ex. A). Strikingly, Dr. Rosendorff’s four-page declaration

 9 does not deny or dispute any of Mr. Evans’ sworn account. What Dr. Rosendorff’s declaration does not

10 say is extraordinary.

11          The government’s arguments that not even a hearing is warranted are troubling; the government,

12 confident as it professes to be in its conduct, the evidence, and the result at trial, should want to put any

13 questions Ms. Holmes (and the Court) may have fully to rest. But the government is also incorrect on

14 the law: while Ms. Holmes believes she has met the standard for a new trial, she has more than met the

15 threshold for a required evidentiary hearing, for the following reasons. 1

16          First, the government does not dispute the key facts regarding Dr. Rosendorff’s visit to Ms.

17 Holmes’ residence outlined in Mr. Evans’ and Mr. Wade’s sworn declarations—indeed, Dr. Rosendorff

18 himself did not dispute them in his declaration. As a result, the government’s attempt to suggest that

19 Mr. Evans’ account should be discounted falls flat. Gov’t Opp’n 11. The government’s reliance on

20 United States v. Pointer is misplaced as the facts are wholly distinguishable. 17 F.3d 1070, 1074 (7th

21 Cir. 1994) (“Ms. Gaines did not testify at trial, reducing the significance of her recantation. Moreover,

22 the credibility of Ms. Gaines’ letter is in grave doubt. Her letter was not a sworn affidavit.”). Indeed,

23 the government appears to concede that Dr. Rosendorff does not repudiate any of the statements

24 attributed to him; it merely argues that it repudiates the “interpretation of his earlier statements as

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26         Ms. Holmes incorporates by reference the arguments addressing harmlessness and timeliness in
   her Reply in Support of Motion for New Trial Based on Newly Discovered Evidence from Mr.
27 Balwani’s Trial.

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 1 recantation.” Opp’n at 12. A comparison of Mr. Evans’ declaration to Dr. Rosendorff’s makes clear

 2 that there is no inconsistency between them. 2 The cases cited by the government stand in contrast to the

 3 facts here. See Lindsey v. United States, 368 F.2d 633, 635-36 (9th Cir. 1966) (complaining witness

 4 filed four affidavits, the last of which “expressly recanted” prior statements raising questions about her

 5 trial testimony and explaining that those prior statements were made at the request of the defendant

 6 (emphasis added)); United States v. Nace, 561 F.2d 763, 772 (9th Cir. 1977) (witness “denied making

 7 any of the statements attributed to him” in a declaration provided by another person in support of Rule

 8 33 motion (emphasis added)).

 9          Second, there is enough ambiguity about Dr. Rosendorff’s statements that the Court should grant

10 an evidentiary hearing even if the Court is not convinced that Ms. Holmes has shown she is entitled to a

11 new trial. For example, what did he mean when saying he “tried to answer the questions honestly;”

12 what did he mean when he said that he felt like he had done something wrong in connection with his

13 testimony. Evans Decl., Ex. A at 1 (emphasis added). It would be inappropriate for the Court to resolve

14 the motion on Dr. Rosendorff’s declaration alone. Unlike in Nace, on which the government relies, Dr.

15 Rosendorff’s declaration does not fully address the statements he made to Mr. Evans and on which Ms.

16 Holmes relies for her motion. See Nace, 561 F.2d at 772 (finding it was proper to proceed without an

17 evidentiary hearing when witness denied making statements attributed to him in sworn declaration).

18          Moreover, there is still an open question of government misconduct that affects the standard

19 applied to this motion. The government argues that Dr. Rosendorff’s declaration “expressly stat[es] that

20 the government did not introduce false testimony through him at all.” Opp’n 6. But Dr. Rosendorff did

21 not say that. The relevant portion of the declaration states in full: “I have no reason to believe that the

22 government misrepresented or otherwise created a misimpression about Ms. Holmes’ or Mr. Balwani’s

23 conduct at Theranos.” Dkt. 1587-1, Rosendorff Decl. ¶ 4 (emphasis added). Of course, Dr. Rosendorff

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             For example, Dr. Rosendorff’s statement in his declaration he answered questions “truthfully to
26 the best of [his] ability,” Dkt. 1587-1, is entirely consistent with his troubling statement to Mr. Evans
   that “when he was called as a witness he tried to answer the questions honestly but that the prosecutors
27 tried to make everybody look bad (in the company),” Dkt, 1574-2.

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 1 testified about a variety of subjects that were broader than just “Ms. Holmes’ . . . conduct at Theranos.”

 2 Id. And Napue issues are not circumscribed to just testimony about the defendant’s “conduct.” See

 3 Napue v. Illinois, 360 U.S. 264 (1959). Indeed, Ms. Holmes’ counsel alerted the Court during trial that

 4 the government’s questioning regarding Theranos operations had created a knowingly misleading

 5 picture and had raised “substantial concerns” under Napue v. Illinois, 360 U.S. 264 (1959).3 Holmes

 6 10/5/21 Tr. 2714:3-8 (citing Napue); see also Holmes 10/15/21 Tr. 3840:7-3841:3.4 The fact that Dr.

 7 Rosendorff’s declaration is so carefully constrained raises more questions than answers about what Dr.

 8 Rosendorff’s statements actually meant. At a minimum, the Court should order an evidentiary hearing

 9 to permit examination on the full meaning and context surrounding his statements regarding the

10 government’s conduct at trial. United States v. Vozzella, 124 F.3d 389, 390 (2d Cir. 1997) (recognizing

11 that Napue applied to “the use of evidence that was in part false and otherwise so misleading as to

12 amount to falsity”).

13          Third, Ms. Holmes has met the standard for a new trial, for the following reasons:

14         Dr. Rosendorff’s August 8, 2022 statements are plainly newly discovered evidence. The
15          government fails to address any of Ms. Holmes’ arguments, instead attempting to fashion a rule

16          that does not exist. Opp’n 6-7. The government’s cited cases in support of its argument stand

17          only for the fact that when a witness withdraws a recantation that he or she had made under the

18          defendant’s coercion, courts may find that the recantation was not credible. See United States v.

19          Santiago, 837 F.2d 1545, 1548 (11th Cir. 1988) (stating recantation “was the result of threats

20          from [defendant’s] family.”); United States v. Matta-Ballesteros, 213 F.3d 644, 2000 WL

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22          For example, although the government elicited from Dr. Rosendorff on direct examination that
   Theranos did not have any proficiency testing in place prior to the Theranos launch, Dr. Rosendorff
23 admitted on cross-examination that this testimony was “not correct.” Holmes 9/29/21 Tr. 2257:10-
   2258:7. Further cross-examination revealed that Dr. Rosendorff told the government in a prior interview
24 that Theranos engaged in proficiency testing and had “good results.” Id. at 2260-2261:8.
            4
25          In Napue, the Supreme Court held “that a conviction obtained through use of false evidence,
   known to be such by representatives of the State, must fall under the Fourteenth Amendment.” 360 U.S.
26 at 269. “[I]f it is established that the government knowingly permitted the introduction of false
   testimony reversal is ‘virtually automatic.’” Hayes v. Brown, 399 F.3d 972, 978 (9th Cir. 2005) (en
27 banc).

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 1        297328, at *1 (9th Cir. 2000) (unpublished) (explaining district court found original recantation

 2        not credible only after “a lengthy evidentiary hearing”); see also United States v. Zuno-Arce, 25

 3        F. Supp. 2d 1087, 1094 (C.D. Cal. 1998) (explaining recantation “was the product of coercion,

 4        both physical and psychological, at the hands of representatives” of the defendant). No similar

 5        facts exist here, where Dr. Rosendorff went to Ms. Holmes’ home of his own volition and has

 6        not recanted any statements he made there.

 7       Ms. Holmes was diligent in seeking such testimony. As recounted in her Motion, Ms. Holmes
 8        cross-examined Dr. Rosendorff for several days and specifically sought the kinds of exculpatory

 9        statements he elicited. Dkt. 1574, Holmes Motion for New Trial re: A. Rosendorff (“Holmes

10        Motion”) at 6-7; see also United States v. Fulcher, 250 F.3d 244, 250 (4th Cir. 2001) (diligence

11        prong is satisfied when “there is simply no indication from the record that a more probing cross-

12        examination would have elicited any of the facts that came to light following the trial”). The

13        government’s citation to United States v. Hinkson, 585 F.3d 1247 (9th Cir. 2009), is again

14        inapposite: in that case, the defendant declined the Court’s invitation to re-open the cross-

15        examination of a key witness but later filed a Rule 33 motion based on newly discovered

16        evidence regarding the very same issue he declined to press at trial, id. at 1256-57.

17       The evidence is not merely impeaching. As Ms. Holmes explained in her opening brief, the
18        statements at issue are affirmative evidence, not merely impeaching. Holmes’ Mot. 9-10. See

19        Kyles v. Whitley, 514 U.S. 419, 446 (1995) (evidence was material because it could have been

20        used to attack the reliability of the government’s investigation); United States v. Howell, 231

21        F.3d 615, 625 (9th Cir. 2000) (“[I]nformation which might ‘have raised opportunities to attack . .

22        . the thoroughness and even good faith of the investigation . . .’ constitutes exculpatory, material

23        evidence.”). Again, the government’s principal case misses the mark. In United States v.

24        Kulczyk, the defendant had failed to offer a non-impeachment purpose for the evidence. 931

25        F.2d 542, 549 (9th Cir. 1991). In any event, the Ninth Circuit has since clarified that

26        impeachment evidence can support a motion for a new trial when it is sufficiently powerful.

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 1          United States v. Davis, 960 F.2d 820, 825 (9th Cir. 1992). In this case, Dr. Rosendorff was an

 2          important witness and his new statements materially undermine his testimony.

 3         Dr. Rosendorff’s statements would likely have led to an acquittal. The government relied on Dr.
 4          Rosendorff in its closing argument when discussing the requisite knowledge and falsity elements

 5          of wire fraud. See, e.g., Holmes 12/16/21 Tr. 8975:6-10 (“Dr. Rosendorff said that in the middle

 6          of 2014, he had conversations with Ms. Holmes about QC, quality control . . . again, more

 7          knowledge evidence.”). Indeed, during the hearing on Ms. Holmes motion for judgment of

 8          acquittal, the government cited to Dr. Rosendorff’s testimony in support of its argument. 9/1/22

 9          Hr’g Tr. 24:8-25:3. Again, the cases cited by the government stand in contrast to the facts here.

10          See Lindsey, 368 F.2d at 635-36 (complaining witness filed four affidavits over the course of 1.5

11          years— the first recanting her testimony, the second withdrawing that recantation, the third again

12          calling into question her trial testimony in a way that benefited the defendant, and the fourth

13          “expressly recant[ing]” her third affidavit and explaining that she signed the third affidavit

14          recanting her testimony at the request of the defendant after he had misled her about his

15          sentence); Nace, 561 F.2d at 772 (witness “denied making any of the statements attributed to

16          him” in a declaration provided by another person that supported defendant’s motion for new

17          trial). The government’s fallback position is that Dr. Rosendorff’s statements are not material

18          and would not have led to an acquittal because Ms. Holmes was acquitted of a scheme to defraud

19          patients. That argument is belied by the fact that the investor counts alleged fraudulent

20          statements concerning the technology. Dkt. 469 ¶ 12(A). Indeed, the government has argued

21          that alleged misrepresentations about the technology as “sort of the underlying false statement in

22          the case.” See Holmes 12/16/21 Tr. 8959:6-11 (Gov’t closing argument). For the reasons

23          described in Ms. Holmes’ opening brief, these arguments should not be persuasive. Holmes’

24          Mot. at 7-11.

25          At bottom, the Court is left exactly where it was before Dr. Rosendorff’s declaration: one of the

26 government’s most significant trial witnesses made an extraordinary and unusual trip to Ms. Holmes’

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 1 residence and made undisputed statements concerning his own testimony that are sufficient to justify a

 2 new trial – or, at the very least, an evidentiary hearing.

 3                                                  CONCLUSION

 4          For the foregoing reasons, the Court should grant Ms. Holmes’ motion for a new trial or, at a

 5 minimum, order an evidentiary hearing.

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 7 DATED: September 28, 2022

 8                                                        /s/ Amy Mason Saharia
                                                          KEVIN DOWNEY
 9                                                        LANCE WADE
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11                                                        Attorneys for Elizabeth Holmes

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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on September 28, 2022 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes
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